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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

                                                   WESTERN DIVISION                           SOUTHERN DIVISION
                                              312 North Spring Street, Room G−8           411 West Fourth Street, Suite 1053
                                                   Los Angeles, CA 90012                     Santa Ana, CA 92701−4516
                                                    Tel: (213) 894−3535                            (714) 338−4750
                                                                                              EASTERN DIVISION
            TERRY NAFISI                                                                   3470 Twelfth Street, Room 134
      District Court Executive and                                                             Riverside, CA 92501
             Clerk of Court                                                                      (951) 328−4450


 To: Clerk, United States District Court
     District of Puerto Rico
     150 Carlos Chardon Avenue, Room 150
     San Juan, PR 00918

 Re: Transfer of our Civil Case No.     CV 11−03343 GW (JCx)
     Case Title:      United States of America, et al. v. Aveta, Inc., et al.
     MDL             In Re:

 Dear Sir/Madam:

 An order having been made X transferring                  remanding the above-numbered case to your district,
 we are transmitting herewith our file:

         Original case file documents are enclosed in paper format.
         Electronic documents are accessible through Pacer.
  X      Other: In Camera Documents are enclosed in paper format


                                                                     Very truly yours,

                                                                     Clerk, U.S. District Court

 Date: February 18, 2015                                             By: /s/ Grace Kami
                                                                        Deputy Clerk


 cc: All counsel of record
                                     TO BE COMPLETED BY RECEIVING DISTRICT

 Please acknowledge receipt via e-mail to appropriate address listed below and provide the case number
 assigned in your district:

  X      CivilIntakecourtdocs−LA@cacd.uscourts.gov                     (Los Angeles Office)
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 Case Number:


                                                                     Clerk, U.S. District Court


 Date:                                                               By:
                                                                           Deputy Clerk


  CV−22 (01/15) TRANSMITTAL LETTER − CIVIL OR MDL CASE TRANSFER OUT
